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12 CALIFORNIA COASTKEEPER ALLIANCE

13

14                        UNITED STATES DISTRICT COURT
15                       EASTERN DISTRICT OF CALIFORNIA
16

17 CALIFORNIA COASTKEEPER ALLIANCE,             Case No. 2:20-cv-01703-SCR
18
                     Plaintiff,                 DECLARATION OF CARSON CAPPS IN
19 vs.                                          SUPPORT OF PLAINTIFF'S MOTION
                                                FOR INTERIM AWARD OF FEES AND
20 COSUMNES CORPORATION, dba MURIETA            COSTS
   EQUESTRIAN CENTER,
21
                                                Hearing Date: June 12, 2025
22                       Defendant.             Time: 10:00 AM
                                                Courtroom: 27, 8th Floor
23                                              Hon. Sean Riordan
24

25

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                                                 1
        DECL. OF C. CAPPS ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND COSTS
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 1          I, Carson Capps, declare:

 2          1.       I am more than eighteen years old and am competent to testify as to the matters set

 3   forth herein.

 4          2.       I am an attorney licensed to practice law in the State of California.

 5          3.       I make this Declaration in support of Plaintiff’s Interim Motion for Attorneys’ Fees

 6   and Costs, filed herewith. The facts set forth in this declaration are based on my personal

 7   knowledge, unless otherwise stated; if called to testify as a witness, I could and would competently

 8   testify thereto under oath.

 9      I. BIOGRAPHICAL INFORMATION

10          4.       I am a 2021 Graduate of the University of California, Irvine School of Law.
11          5.       I was admitted to practice law in the State of California in July 2022.
12          6.       I am an attorney at the State Water Resources Control Board Office of Enforcement.
13   Prior to that, and when I performed the work described below, I was employed as a Public Service
14   Fellow by California Coastkeeper Alliance from August 1, 2021 to September 30, 2022. Prior to
15   that, I was employed at the Orange County Coastkeepers as a legal intern from May 2020 to
16   November 2020.
17          7.       My practice as a legal fellow with California Coastkeeper Alliance focused
18   exclusively on public interest environmental law under both state and federal jurisdictions. I
19   primarily assisted with cases involving the federal Clean Water Act and the Porter-Cologne Water
20   Quality Control Act.
21          8.       It is my understanding that a reasonable rate for paralegal work in the Eastern
22   District of California for a person with my experience is $218 per hour.
23          9.       It is my understanding that a reasonable rate for attorney work in the Eastern District
24   of California for a person with my experience is $345 per hour.
25          10.      In setting the above rate, Mr. Hunt, my supervisor at California Coastkeeper
26   Alliance, relied on their extensive knowledge of prevailing hourly rates in the Eastern District of
27   California legal market and other legal markets throughout California. In setting my hourly rates,
28
                                                    2
           DECL. OF C. CAPPS ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND COSTS
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 1   they reviewed market data and recent attorney fee awards in cases involving complex civil

 2   litigation in the U.S. District Court for the Eastern District of California.

 3      II. TASKS PERFORMED AND HOURS INCURRED IN THIS CASE

 4          11.     My involvement in this case began in 2021 with conducting research into the
 5   sufficiency of service of Defendant Murieta Equestrian Center (MEC).
 6          12.     I reviewed and analyzed MEC’s written responses and objections to Plaintiff’s
 7   written discovery, and drafted meet and confer letters to MEC regarding the same.
 8          13.     I reviewed documents produced by MEC in response to Plaintiff’s requests for
 9   production, including internal communications, inspection reports and photographs, staffing
10   information, and other items.
11          14.     In preparation for mediation between the parties, I worked with Jason Flanders to
12   draft settlement statements and mediation briefs in both late 2021 and mid-2022. This included
13   further research and articulation of legal agreements, including those regarding WOTUS and
14   Article III standing. I attended the 2021 settlement conference between the parties mediated by
15   Magistrate Judge Newman.
16          15.     In all aspects of investigation, discovery, motion practice, and settlement
17   negotiations, I coordinated with J. Flanders and D. Hunt regarding litigation strategy, deadlines and
18   internal deliveries, and discovery strategy etc.; this included frequent teleconferences and emails
19   regarding the same, as well as the creation and/or maintenance of shared planning documents,
20   discovery plans, memoranda, and excel document(s) outlining facts and evidence in support of
21   Plaintiff’s claims.
22          16.     Attached hereto as Exhibit 1 is a true and correct copy of chronological time records
23   that document the time that I spent on this case. I personally and contemporaneously kept these
24   records in an excel workbook documenting the hours I worked on this case.
25          I declare, under penalty of perjury under the laws of the United States that the foregoing is
26 true and correct. Executed on the 14th of April, 2025, in SACRAMENTO, CALIFORNIA.

27
                                                                    Carson Capps
28
                                                    3
           DECL. OF C. CAPPS ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND COSTS
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Date      Client   Matter       Staff          Description                                                     Hours         Rate       Total           Billing Judgment Fee Reduction        Billing Judgment Time Reduction
                   Murieta                     Murieta Equestrian Center DOCUMENT REVIEW CALL WITH D. Hunt
                   Equestrian                  AND C. Hudak.
   9/2/2021 CCKA   Center       Carson Capps                                                                           1.0    $218.00           $0.00                               $218.00                                      1
                   Murieta                     Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
   9/2/2021 CCKA   Center       Carson Capps                                                                           4.7    $218.00           $0.00                             $1,024.60                                     4.7
                   Murieta                     Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
   9/3/2021 CCKA   Center       Carson Capps                                                                           2.4    $218.00           $0.00                               $523.20                                     2.4
                   Murieta                     Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
   9/7/2021 CCKA   Center       Carson Capps                                                                           8.6    $218.00           $0.00                             $1,874.80                                     8.6
                   Murieta                     Meet with D. Hunt and J. Flanders re: document review
                   Equestrian
   9/7/2021 CCKA   Center       Carson Capps                                                                           0.8    $218.00           $0.00                               $174.40                                     0.8
                   Murieta                     Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
   9/8/2021 CCKA   Center       Carson Capps                                                                           5.0    $218.00           $0.00                             $1,090.00                                      5
                   Murieta                     CALL WITH D. Hunt AND J. RE: Murieta Equestrian Center
                   Equestrian                  DOCUMENT REVIEW.
   9/8/2021 CCKA   Center       Carson Capps                                                                           0.8    $218.00           $0.00                               $174.40                                     0.8
                   Murieta                     Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
   9/8/2021 CCKA   Center       Carson Capps                                                                           1.1    $218.00           $0.00                               $239.80                                     1.1
                   Murieta                     Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
   9/9/2021 CCKA   Center       Carson Capps                                                                           6.3    $218.00           $0.00                             $1,373.40                                     6.3
                   Murieta                     Murieta Equestrian Center SECOND MEET AND CONFER DRAFT.
                   Equestrian
  9/10/2021 CCKA   Center       Carson Capps                                                                           4.7    $218.00           $0.00                             $1,024.60                                     4.7
                   Murieta                     Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
  9/10/2021 CCKA   Center       Carson Capps                                                                           2.5    $218.00           $0.00                               $545.00                                     2.5
                   Murieta                     UPDATING Murieta Equestrian Center SECOND MEET AND CONFER
                   Equestrian                  DRAFT.
  9/13/2021 CCKA   Center       Carson Capps                                                                           4.9    $218.00           $0.00                             $1,068.20                                     4.9
                   Murieta                     Murieta Equestrian Center SECOND MEET AND CONFER DRAFT.
                   Equestrian
  9/13/2021 CCKA   Center       Carson Capps                                                                           0.8    $218.00           $0.00                               $174.40                                     0.8
                   Murieta                     MEETING WITH D. Hunt RE: MEET AND CONFER DRAFT.
                   Equestrian
  9/13/2021 CCKA   Center       Carson Capps                                                                           0.6    $218.00           $0.00                               $130.80                                     0.6
                   Murieta                     CORRESPONDENCE WITH C. Hudak RE: Murieta Equestrian Center
                   Equestrian                  DOCUMENT REVIEW FINDINGS.
  9/14/2021 CCKA   Center       Carson Capps                                                                           0.3    $218.00           $0.00                                $65.40                                     0.3
                   Murieta                     UPDATING Murieta Equestrian Center SECOND MEET AND CONFER
                   Equestrian                  DRAFT.
  9/14/2021 CCKA   Center       Carson Capps                                                                           2.3    $218.00           $0.00                               $501.40                                     2.3
                   Murieta                     REVISING Murieta Equestrian Center MEET AND CONFER LETTER.
                   Equestrian
  9/15/2021 CCKA   Center       Carson Capps                                                                           1.0    $218.00           $0.00                               $218.00                                      1
                   Murieta                     CALL WITH D. Hunt.
                   Equestrian
  9/16/2021 CCKA   Center       Carson Capps                                                                           0.1    $218.00           $0.00                                $21.80                                     0.1
                   Murieta                     Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
  9/16/2021 CCKA   Center       Carson Capps                                                                           1.0    $218.00           $0.00                               $218.00                                      1
                   Murieta                     Murieta Equestrian Center DOCUMENT REVIEW.
                   Equestrian
  9/17/2021 CCKA   Center       Carson Capps                                                                           5.3    $218.00           $0.00                             $1,155.40                                     5.3




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Date      Client   Matter       Staff          Description                                                         Hours         Rate       Total           Billing Judgment Fee Reduction        Billing Judgment Time Reduction
                   Murieta                     UPDATING DRAFT Murieta Equestrian Center MEET AND CONFER.
                   Equestrian
  9/17/2021 CCKA   Center       Carson Capps                                                                               1.0    $218.00           $0.00                               $218.00                                      1
                   Murieta                     UPDATING D. Hunt, J. Flanders, AND C. Hudak ON Murieta Equestrian
                   Equestrian                  Center DOCUMENT REVIEW.
  9/17/2021 CCKA   Center       Carson Capps                                                                               0.3    $218.00           $0.00                                $65.40                                     0.3
                   Murieta                     Murieta Equestrian Center MEET AND CONFER PREPARATION
                   Equestrian                  MEETING WITH D. Hunt.
  9/23/2021 CCKA   Center       Carson Capps                                                                               0.3    $218.00           $0.00                                $65.40                                     0.3
                   Murieta                     Murieta Equestrian Center SECOND MEET AND CONFER.
                   Equestrian
  9/23/2021 CCKA   Center       Carson Capps                                                                               0.9    $218.00           $0.00                               $196.20                                     0.9
                   Murieta                     Murieta Equestrian Center MEET AND CONFER FOLLOW-UP CALL
                   Equestrian                  WITH D. Hunt AND J. Flanders.
  9/23/2021 CCKA   Center       Carson Capps                                                                               0.4    $218.00           $0.00                                $87.20                                     0.4
                   Murieta                     MEETING RE: STANDING WITNESS DECLARATION.
                   Equestrian
  9/29/2021 CCKA   Center       Carson Capps                                                                               1.1    $218.00           $0.00                               $239.80                                     1.1
                   Murieta                     DRAFTING STANDING WITNESS DECLARATION.
                   Equestrian
  9/29/2021 CCKA   Center       Carson Capps                                                                               5.9    $218.00           $0.00                             $1,286.20                                     5.9
                   Murieta                     DRAFTING STANDING WITNESS DECLARATION.
                   Equestrian
  9/30/2021 CCKA   Center       Carson Capps                                                                               1.5    $218.00           $0.00                               $327.00                                     1.5
                   Murieta                     Murieta Equestrian Center STANDING MEETING FOR SEAN WITH D.
                   Equestrian                  Hunt AND J. Flanders.
 10/12/2021 CCKA   Center       Carson Capps                                                                               1.0    $218.00           $0.00                               $218.00                                      1
                   Murieta                     READING PLAINTIFF'S OPPOSITION TO COSUMNES'S
                   Equestrian                  DEPOSITION NOTICE.
 10/27/2021 CCKA   Center       Carson Capps                                                                               0.1    $218.00           $0.00                                $21.80                                     0.1
                   Murieta                     BEGINNING SUPPLEMENTARY DOCUMENT REVIEW FOR Murieta
                   Equestrian                  Equestrian Center.
 10/29/2021 CCKA   Center       Carson Capps                                                                               3.0    $218.00           $0.00                               $654.00                                      3
                   Murieta                     CONTINUING SUPPLEMENTARY document REVIEW FOR Murieta
                   Equestrian                  Equestrian Center.
  11/1/2021 CCKA   Center       Carson Capps                                                                               8.0    $218.00           $0.00                             $1,744.00                                      8
                   Murieta                     CONTINUING SUPPLEMENTARY DOCUMENT REVIEW FOR Murieta
                   Equestrian                  Equestrian Center.
  11/2/2021 CCKA   Center       Carson Capps                                                                               2.0    $218.00           $0.00                               $436.00                                      2
                   Murieta                     SENDING REVIEW OF supplemental DOCUMENT REVIEW FINDINGS
                   Equestrian                  TO C. Hudak, J. Flanders, AND D. Hunt.
  11/2/2021 CCKA   Center       Carson Capps                                                                               0.3    $218.00           $0.00                                $65.40                                     0.3
                   Murieta                     PREPARING FOR MEETING WITH C. Hudak RE: MEET AND
                   Equestrian                  CONFER FOLLOW-UP.
  11/4/2021 CCKA   Center       Carson Capps                                                                               1.1    $218.00           $0.00                               $239.80                                     1.1
                   Murieta                     MEETING WITH C. Hudak RE: MEET AND CONFER FOLLOW-UP.
                   Equestrian
  11/4/2021 CCKA   Center       Carson Capps                                                                               0.2    $218.00           $0.00                                $43.60                                     0.2
                   Murieta                     DRAFTING MEET AND CONFER FOLLOW-UP.
                   Equestrian
  11/4/2021 CCKA   Center       Carson Capps                                                                               3.5    $218.00           $0.00                               $763.00                                     3.5
                   Murieta                     DRAFTING MEET AND CONFER FOLLOW-UP.
                   Equestrian
  11/5/2021 CCKA   Center       Carson Capps                                                                               3.0    $218.00           $0.00                               $654.00                                      3
                   Murieta                     MEETING WITH D. Hunt, J. Flanders, AND S. Bothwell.
                   Equestrian
  11/8/2021 CCKA   Center       Carson Capps                                                                               1.1    $218.00           $0.00                               $239.80                                     1.1
                   Murieta                     DRAFTING STANDING WITNESS DECLARATION.
                   Equestrian
 11/10/2021 CCKA   Center       Carson Capps                                                                               4.2    $218.00           $0.00                               $915.60                                     4.2




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                   Murieta                     MURIETA MEDIATION.
                   Equestrian
  12/1/2021 CCKA   Center       Carson Capps                                                                                     6.0    $218.00           $0.00                             $1,308.00                                      6
                   Murieta                     MURIETA MEDIATION DEBRIEF.
                   Equestrian
  12/1/2021 CCKA   Center       Carson Capps                                                                                     0.7    $218.00           $0.00                               $152.60                                     0.7
                   Murieta                     MAKING RAINFALL CHART FOR Murieta Equestrian Center FROM
                   Equestrian                  JANUARY 2015 - MARCH 2022.
  3/21/2022 CCKA   Center       Carson Capps                                                                                     4.0    $218.00           $0.00                               $872.00                                      4
                   Murieta                     CHECKING RAINFALL DATA CHART AGAINST CHART WE
                   Equestrian                  ATTACHED TO THE NOTICE LETTER.
  3/22/2022 CCKA   Center       Carson Capps                                                                                     0.5    $218.00           $0.00                               $109.00                                     0.5
                   Murieta                     DRAFTING PARAGRAPH EXPLAINING THE PROCESS FOR
                   Equestrian                  CREATING THE RAINFALL CHARTS.
  3/22/2022 CCKA   Center       Carson Capps                                                                                     0.2    $218.00           $0.00                                $43.60                                     0.2
                   Murieta                     REVIEWING PREVIOUS DOCUMENT REVIEW PROCESS.
                   Equestrian
   6/3/2022 CCKA   Center       Carson Capps                                                                                     0.3    $218.00           $0.00                                $65.40                                     0.3
                   Murieta                     MEETING WITH D. Hunt, J. Flanders, AND ERICA.
                   Equestrian
   6/3/2022 CCKA   Center       Carson Capps                                                                                     1.0    $218.00           $0.00                               $218.00                                      1
                   Murieta                     MEETING WITH D. Hunt, C. Hudak, AND TOM RE: SECOND ROUND
                   Equestrian                  OF document REVIEW.
   6/3/2022 CCKA   Center       Carson Capps                                                                                     1.2    $218.00           $0.00                               $261.60                                     1.2
                   Murieta                     MEETING WITH E. AND TOM RE: EVERLAW TRAINING AND
                   Equestrian                  BACKGROUND.
   6/3/2022 CCKA   Center       Carson Capps                                                                                     0.3    $218.00           $0.00                                $65.40                                     0.3
                   Murieta                     REVIEWING DEFENDANT'S PRODUCTIONS.
                   Equestrian
   6/3/2022 CCKA   Center       Carson Capps                                                                                     6.1    $218.00           $0.00                             $1,329.80                                     6.1
                   Murieta                     REVIEWING DEFENDANT'S PRODUCTIONS.
                   Equestrian
   6/4/2022 CCKA   Center       Carson Capps                                                                                     6.5    $218.00           $0.00                             $1,417.00                                     6.5
                   Murieta                     REVIEWING DEFENDANT'S PRODUCTIONS.
                   Equestrian
   6/5/2022 CCKA   Center       Carson Capps                                                                                     5.5    $218.00           $0.00                             $1,199.00                                     5.5
                   Murieta                     PREPARING EXHIBITS FOR DEPOSITION.
                   Equestrian
   6/7/2022 CCKA   Center       Carson Capps                                                                                     4.0    $218.00           $0.00                               $872.00                                      4
                   Murieta                     MEETING RE: document REVIEW FOR MEDIATION.
                   Equestrian
  7/18/2022 CCKA   Center       Carson Capps                                                                                     1.0    $218.00           $0.00                               $218.00                                      1
                   Murieta                     CALL RE: document REVIEW FOR MEDIATION.
                   Equestrian
  7/20/2022 CCKA   Center       Carson Capps                                                                                     1.0    $218.00           $0.00                               $218.00                                      1
                   Murieta                     CALL RE: MOVING DOCUMENTS TO California Coastkeeper Alliance
                   Equestrian                  EVERLAW.
  8/10/2022 CCKA   Center       Carson Capps                                                                                     1.0    $345.00           $0.00                               $345.00                                      1
                   Murieta                     CALL RE: SUF PROGRESS, document REVIEW.
                   Equestrian
  8/18/2022 CCKA   Center       Carson Capps                                                                                     1.0    $345.00           $0.00                               $345.00                                      1
                   Murieta                     DOWNLOADING DOCUMENTS FROM ATA EVERLAW AND MOVING
                   Equestrian                  TO California Coastkeeper Alliance EVERLAW.
  8/19/2022 CCKA   Center       Carson Capps                                                                                     5.1    $345.00           $0.00                             $1,759.50                                     5.1
                   Murieta                     Meet with D. Hunt and J. Flanders re: organizing discovery evidence for
                   Equestrian                  Motion for Summary Judgment
  8/25/2022 CCKA   Center       Carson Capps                                                                                     1.3    $345.00           $0.00                               $448.50                                     1.3
                   Murieta                     CALL RE: MEDIATION REVIEW TAG TREE.
                   Equestrian
  8/25/2022 CCKA   Center       Carson Capps                                                                                     0.9    $345.00           $0.00                               $310.50                                     0.9




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                   Murieta                     LOCATING REMAINING DOCUMENTS ON ATA SHAREPOINT AND
                   Equestrian                  UPLOADING TO California Coastkeeper Alliance EVERLAW.
  8/25/2022 CCKA   Center       Carson Capps                                                                           10.6    $345.00           $0.00                             $3,657.00                                      10.6
                   Murieta                     CALL RE: document REVIEW FOR MEDIATION.
                   Equestrian
  8/26/2022 CCKA   Center       Carson Capps                                                                            1.0    $345.00           $0.00                               $345.00                                        1
                   Murieta                     call with D Hunt and J. Flanders re: documents to support SUF
                   Equestrian
  8/26/2022 CCKA   Center       Carson Capps                                                                            1.0    $345.00           $0.00                               $345.00                                        1
                   Murieta                     CALL RE: REVIEWING NEW TAG TREE FOR document REVIEW.
                   Equestrian
  8/31/2022 CCKA   Center       Carson Capps                                                                            1.0    $345.00           $0.00                               $345.00                                        1
                   Murieta                     CALL WITH D. Hunt RE: REMAINING DOCUMENTS TO LOCATE OR
                   Equestrian                  DELETE FROM DATABASE.
   9/1/2022 CCKA   Center       Carson Capps                                                                            0.6    $345.00           $0.00                               $207.00                                       0.6
                   Murieta                     CREATING ASSIGNMENTS FOR MEDIATION document REVIEW.
                   Equestrian
   9/6/2022 CCKA   Center       Carson Capps                                                                            1.4    $345.00           $0.00                               $483.00                                       1.4
                   Murieta                     REVIEWING Murieta Equestrian Center DOCUMENTS FOR
                   Equestrian                  MEDIATION.
   9/8/2022 CCKA   Center       Carson Capps                                                                            8.3    $345.00           $0.00                             $2,863.50                                       8.3
                                               Totals                                                              164.6                         $0.00                            $40,099.20                                     164.6




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